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 1
 2
 3
 4
 5
 6
 7                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 8                                           AT SEATTLE
 9   SOCIAL POSITIONING INPUT
10   SYSTEMS, LLC,                                        No.:

11                    Plaintiff,                          COMPLAINT FOR INFRINGEMENT OF
                                                          PATENT
12           v.
13   VALVE CORPORATION,
14                                                        JURY TRIAL DEMANDED
                      Defendant.
15
16           Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” and/or “SPIS”) files this
17
     Complaint against Valve Corporation (“Defendant” and/or “Valve”) for infringement of United
18
19   States Patent No. 9,261,365 (hereinafter “the ‘365 Patent”).

20                                    PARTIES AND JURISDICTION
21
             1.       This is an action for patent infringement under Title 35 of the United States Code.
22
23   Plaintiff is seeking injunctive relief as well as damages.

24           2.       Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal
25
     Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising
26
     under the United States patent statutes.
27
28           3.       Plaintiff is a Wyoming limited liability company with an address of 1 East
29   Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
30

      COMPLAINT - 1                                                           MEYLER LEGAL, PLLC
      (Case No. ______________________)                                  1700 WESTLAKE AVE. N., STE 200
                                                                          SEATTLE, WASHINGTON 98109
                                                                       TEL: (206) 876-7770  FAX: (206) 876-7771
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             4.       On information and belief, Defendant is a Washington corporation with a principal
 1
 2   place of business at 10400 NE 4th Street, Ste. 1400, Bellevue, WA 98004. On information and
 3
     belief, Defendant may be served through its registered agent, Corpserve, Inc., 1001 4th Ave. Ste.
 4
     4500, Seattle, WA 98154.
 5
 6           5.       On information and belief, this Court has personal jurisdiction over Defendant
 7   because Defendant has committed, and continues to commit, acts of infringement in this District,
 8
     has conducted business in this District, and/or has engaged in continuous and systematic
 9
10   activities in this District.
11           6.       On information and belief, Defendant’s instrumentalities that are alleged herein
12
     to infringe were and continue to be used, imported, offered for sale, and/or sold in this District.
13
14                                                 VENUE

15           7.       On information and belief, the venue is proper in this District under 28 U.S.C. §
16
     1400(b) because Defendant is deemed to reside in this District. Alternatively, acts of
17
18   infringement are occurring in this District, and Defendant has a regular and established place of

19   business in this District.
20
                                        COUNT I
21                 (INFRINGEMENT OF UNITED STATES PATENT NO. 9,261,365)
22
             8.       Plaintiff incorporates paragraphs 1 through 7 herein by reference.
23
             9.       This cause of action arises under the patent laws of the United States and, in
24
25   particular, under 35 U.S.C. §§ 271, et seq.
26
             10.      Plaintiff is the owner by assignment of the ‘365 Patent with sole rights to enforce
27
     the ‘365 Patent and sue infringers.
28
29
30

      COMPLAINT - 2                                                           MEYLER LEGAL, PLLC
      (Case No. ______________________)                                  1700 WESTLAKE AVE. N., STE 200
                                                                          SEATTLE, WASHINGTON 98109
                                                                       TEL: (206) 876-7770  FAX: (206) 876-7771
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             11.      A copy of the ‘365 Patent, titled “Device, System and Method for Remotely
 1
 2   Entering, Storing and Sharing Addresses for a Positional Information Device,” is attached hereto
 3
     as Exhibit A.
 4
             12.      The ‘365 Patent is valid, enforceable, and was duly issued in full compliance with
 5
 6   Title 35 of the United States Code.
 7           13.      Upon information and belief, Defendant has infringed and continues to infringe
 8
     one or more claims, including at least Claim 1, of the ‘365 Patent by making, using (at least by
 9
10   having its employees, or someone under Defendant's control, test the accused Product),
11   importing, selling, and/or offering for sale associated hardware and software for asset locating
12
     services (e.g., Vive (or HTC Vive) featuring SteamVR tracking, and any associated hardware,
13
14   apps, or other software) (“Product”) covered by at least Claim 1 of the ‘365 Patent. Defendant

15   has infringed and continues to infringe the ‘365 patent either directly or through acts of
16
     contributory infringement or inducement in violation of 35 U.S.C. § 271.
17
18           14.      Defendant also has and continues to directly infringe, literally or under the doctrine

19   of equivalents, the Exemplary ‘365 Patent Claims, by having its employees internally test and use
20
     these Exemplary Products.
21
             15.      The service of this Complaint, in conjunction with the attached claim chart and
22
23   references cited, constitutes actual knowledge of infringement as alleged here.
24
             16.      Despite such actual knowledge, Defendant continues to make, use, test, sell, offer
25
     for sale, market, and/or import into the United States, products that infringe the ‘365 Patent. On
26
27   information and belief, Defendant has also continued to sell the Exemplary Defendant Products
28
     and distribute product literature and website materials inducing end users and others to use its
29
     products in the customary and intended manner that infringes the ‘365 Patent. See Exhibit B
30

      COMPLAINT - 3                                                           MEYLER LEGAL, PLLC
      (Case No. ______________________)                                  1700 WESTLAKE AVE. N., STE 200
                                                                          SEATTLE, WASHINGTON 98109
                                                                       TEL: (206) 876-7770  FAX: (206) 876-7771
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     (extensively referencing these materials to demonstrate how they direct end users to commit patent
 1
 2   infringement).
 3
               17.    At least since being served by this Complaint and corresponding claim chart,
 4
     Defendant has actively, knowingly, and intentionally continued to induce infringement of the ‘365
 5
 6   Patent, literally or by the doctrine of equivalents, by selling Exemplary Defendant Products to their
 7   customers for use in end-user products in a manner that infringes one or more claims of the ‘365
 8
     Patent.
 9
10             18.    Exhibit B includes at least one chart comparing the Exemplary ‘365 Patent Claims
11   to the Exemplary Defendant Products. As set forth in this chart, the Exemplary Defendant Products
12
     practice the technology claimed by the ‘365 Patent. Accordingly, the Exemplary Defendant
13
14   Products incorporated in this chart satisfy all elements of the Exemplary ‘365 Patent Claims.

15             19.    Plaintiff therefore incorporates by reference in its allegations herein the claim chart
16
     of Exhibit B.
17
18             20.    Plaintiff is entitled to recover damages adequate to compensate for Defendant's

19   infringement.
20
               21.    Defendant’s actions complained of herein will continue unless Defendant is
21
22   enjoined by this court.

23             22.    Defendant’s actions complained of herein are causing irreparable harm and
24
     monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined and
25
     restrained by this Court.
26
27             23.    Plaintiff is in compliance with 35 U.S.C. § 287.
28
29
30

      COMPLAINT - 4                                                             MEYLER LEGAL, PLLC
      (Case No. ______________________)                                    1700 WESTLAKE AVE. N., STE 200
                                                                            SEATTLE, WASHINGTON 98109
                                                                         TEL: (206) 876-7770  FAX: (206) 876-7771
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                                               JURY DEMAND
 1
 2             21.    Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully
 3
     requests a trial by jury on all issues so triable.
 4
                                           PRAYER FOR RELIEF
 5
 6             WHEREFORE, Plaintiff asks the Court to:
 7             (a)     Enter judgment for Plaintiff on this Complaint on all causes of action asserted
 8
     herein;
 9
10             (b)     Enter an Order enjoining Defendant, its agents, officers, servants, employees,
11   attorneys, and all persons in active concert or participation with Defendant who receive notice of
12
     the order from further infringement of United States Patent No. 9,261,365 (or, in the alternative,
13
14   awarding Plaintiff a running royalty from the time of judgment going forward);

15             (c)     Award Plaintiff damages resulting from Defendant’s infringement in accordance
16
     with 35 U.S.C. § 284;
17
18             (d)     Award Plaintiff pre-judgment and post-judgment interest and costs; and

19             (e)     Award Plaintiff such further relief to which the Court finds Plaintiff entitled under
20
     law or equity.
21
     Dated: September 27, 2022.
22
23                                                            MEYLER LEGAL, PLLC
24
25                                                            /S/ SAMUEL M. MEYLER
                                                             SAMUEL M. MEYLER, WSBA #39471
26
                                                             1700 Westlake Ave. N., Ste. 200
27                                                           Seattle, WA 98109
                                                             Tel: 206-876-7770
28                                                           Fax: 206-876-7771
29                                                           E-mail: samuel@meylerlegal.com
                                                             Counsel for Plaintiff Social Positioning Input
30                                                           Systems, LLC
      COMPLAINT - 5                                                             MEYLER LEGAL, PLLC
      (Case No. ______________________)                                    1700 WESTLAKE AVE. N., STE 200
                                                                            SEATTLE, WASHINGTON 98109
                                                                         TEL: (206) 876-7770  FAX: (206) 876-7771
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                      EXHIBIT A
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               EXHIBIT B
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                Infringement Claim Chart for U.S. Pat. No. US9300723B2 Vs Valve Corporation (“Defendant”)


    Claim 1                                                         Evidences
1. A media    Defendant (Valve Corporation) product (i.e., Steam Deck) has a media system configured through which user can view a
system,       media file (e.g. video games) of Steam Deck by a media terminal (e.g. Headset) from a media node (e.g. Steam Deck) over
comprising:   a communication network (e.g. Bluetooth network) through a communication link (wireless communication).




              Source: https://www.steamdeck.com/en/




              Source: https://www.steamdeck.com/en/
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Source: https://www.steamdeck.com/en/




Source: https://www.steamdeck.com/en/hardware
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a)at least one   The Wireless network, WiFi or Internet is used for connecting to the world and Bluetooth is used to connect wireless
media terminal   peripherals such as headsets or dual microphones to chat with friends (at least one media terminal).
disposed in an
accessible
relation to at
least one
interactive
computer
network,




                 Source: https://www.steamdeck.com/en/hardware




                 Source: https://www.steamdeck.com/en/hardware
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Source: https://www.steamdeck.com/en/
                            Case 2:22-cv-01366-JHC Document 1 Filed 09/27/22 Page 27 of 42

b)a wireless     The Headset is connected with the Steam Deck through Bluetooth when the Headset is in the Bluetooth range (wireless
range            range) that permits the connection of the Steam Deck by a wireless network (interactive computer network).
structured to
permit
authorized
access to said
at least one
interactive
computer
network,



                 Source: https://www.steamdeck.com/en/tech




                 Source: https://www.steamdeck.com/en/hardware
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Source: https://help.steampowered.com/en/faqs/view/69E3-14AF-9764-4C28




Source: https://courses.csail.mit.edu/6.857/2018/project/Onsongo-Sanabria-Comas-Herold-Steam.pdf
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Source: https://courses.csail.mit.edu/6.857/2018/project/Onsongo-Sanabria-Comas-Herold-Steam.pdf
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c)at least one  The Headset is connected with the Steam Deck when the Headset (at least one media terminal) comes to the Bluetooth
media node      range detected by Steam Deck (i.e. media node).
disposable
within said
wireless range,
wherein said at
least one
media node is
detectable by
said at least
one media
terminal,




               Source: https://www.steamdeck.com/en/hardware




               Source: https://help.steampowered.com/en/faqs/view/69E3-14AF-9764-4C28
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Source: https://www.steamdeck.com/en/tech




Source: https://courses.csail.mit.edu/6.857/2018/project/Onsongo-Sanabria-Comas-Herold-Steam.pdf
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d)at least one    The Headset (media terminal) is connected with the Steam Deck (media node) through Bluetooth when the Headset comes
digital media     to the range (wireless) of Bluetooth signals. When Headset is connected with a Steam Deck, user can chat with friends or
file initially    other players while playing on Steam Deck.
disposed on at
least one of
said at least
one media
terminal or
said at least
one media
node, said at
least one
media terminal
being
structured to
detect said at
least one
media node
disposed
within said
                  Source: https://www.steamdeck.com/en/software
wireless range,




                  Source: https://courses.csail.mit.edu/6.857/2018/project/Onsongo-Sanabria-Comas-Herold-Steam.pdf
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Source: https://www.steamdeck.com/en/hardware




Source: https://www.steamdeck.com/en/tech




Source: https://help.steampowered.com/en/faqs/view/69E3-14AF-9764-4C28
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e) a            The Headset is connected with the Steam Deck when the Headset (at least one media terminal) comes to the Bluetooth
communication range detected by Steam Deck (i.e. media node).
link structured
to dispose said
at least one
media terminal
and said at
least one
media node in
a
communicative
relation with
one another
via said at
least one
interactive
computer        Source: https://www.steamdeck.com/en/hardware
network,




               Source: https://www.steamdeck.com/en/software
            Case 2:22-cv-01366-JHC Document 1 Filed 09/27/22 Page 35 of 42




Source: https://help.steampowered.com/en/faqs/view/69E3-14AF-9764-4C28




Source: https://www.steamdeck.com/en/tech
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f)said        The communication link, i.e. Bluetooth network which is the link for communication between Headset (media terminal) and
communication Steam Deck (media node) whenever the Headset (at least one media terminal) comes to Bluetooth range of Steam Deck
link being    (i.e. media node).
initiated by
said at least
one media
terminal,




                Source: https://help.steampowered.com/en/faqs/view/69E3-14AF-9764-4C28




                Source: https://www.steamdeck.com/en/hardware
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Source: https://www.steamdeck.com/en/software




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g)said at least The Steam Deck (media node) is connected with the Headset (media Terminal) through a Bluetooth network when the
one media       Headset comes to the Bluetooth range of the Steam Deck (i.e. media node), the user can chat with the world on the Steam
node and said Deck through Headset while playing the game.
at least one
media terminal
being
structured to
transmit said
at least one
digital media
file there
between via
said
communication
link, and




                Source: https://www.steamdeck.com/en/software




                Source: https://www.steamdeck.com/en/hardware
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Source: https://help.steampowered.com/en/faqs/view/69E3-14AF-9764-4C28




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h)said             The communication link is structured so that whenever the user plays the game on the Steam Deck (i.e. media node) is
communication      connected to the world through WiFi network or Internet using Password Protected User Account (i.e. media terminal
link is            security). The Headset (media terminal) is connected to the Steam Deck when the Headset comes to the range (wireless) of
structured to      Bluetooth signals. When a Headset is connected with the Steam Deck, the user can chat with the world on the Steam Deck
bypass at least    while playing the game (digital media file).
one media
terminal
security
measure for a
limited
permissible
use of the
communication
link by the
media node to
only
transferring the
at least one
digital media
file to, and       Source: https://www.steamdeck.com/en/hardware
displaying the
at least one
digital media
file on, the at
least one
media
terminal.



                   Source: https://help.steampowered.com/en/faqs/view/69E3-14AF-9764-4C28
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Source: https://courses.csail.mit.edu/6.857/2018/project/Onsongo-Sanabria-Comas-Herold-Steam.pdf




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